Case 1:07-cv-00559-RPM Document 4 Filed 03/17/09 USDC Colorado Page 1 of 1




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO
                        Senior District Judge Richard P. Matsch

Civil Action Number 07-cv-00559-RPM

DANIEL H. OVERMYER,

                     Plaintiff,
v.

UNITED STATES OF AMERICA,

                Defendant.
_____________________________________________________________________

                         ORDER FOR DISMISSAL
_____________________________________________________________________


       Plaintiff having filed no response to this Court’s Order to Show Cause entered on

February 27, 2009, it is

       ORDERED that this action is dismissed without prejudice pursuant to

Fed.R.Civ.P. 4(m).

       DATED: March 17th, 2009

                                        BY THE COURT:

                                        s/Richard P. Matsch
                                        ________________________________
                                        Richard P. Matsch, Senior District Judge
